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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                            19-cv-23900-SCOLA

 UNITED STATES OF AMERICA

             v.

 ONE (1) 2012 ROLLS ROYCE
 PHANTOM DROPHEAD,
 BEARING VIN SCA682D53CUX16710,

      Defendant in Rem
 __________________________________/

                                VERIFIED CLAIM

        Consistent with the allegations in the Verified Complaint, DE#1:3, I, Raul
 Gorrin, declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that I am the
 owner of record of the defendant vehicle, a 2012 ROLLS ROYCE PHANTOM
 DROPHEAD, BEARING VIN SCA682D53CUX16710, and hereby file this claim
 for said vehicle.
                                                    01/06/20
       ________________________              ____________________
       Raul Gorrin                           Date

                          Respectfully submitted through counsel,

                          BLACK, SREBNICK, KORNSPAN & STUMPF
                          201 South Biscayne Boulevard, Suite 1300
                          Miami, FL 33131 / Tel: (305) 371-6421

                          /s/ Howard Srebnick
                          HOWARD SREBNICK
                            Fla. Bar No. 919063
                            Email: HSrebnick@RoyBlack.com
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